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                                                                 USDC SDNY
UNITED STATES DISTRICT COURT                                     DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
SECURITIES AND EXCHANGE COMMISSION,                              DOC #:
                                                                 DATE FILED: 11/13/2023
                             Plaintiff,
              -against-
                                                                        20 Civ. 10832 (AT)
RIPPLE LABS, INC.
                                                                             ORDER
                        Defendant.
ANALISA TORRES, District Judge:

      The Court has reviewed the parties’ letter dated November 9, 2023. Accordingly:

      1.   By February 12, 2024, the parties shall complete remedies-related discovery;
      2.   By March 13, 2024, Plaintiff shall file its brief with respect to remedies;
      3.   By April 12, 2024, Defendant shall file its opposition; and
      4.   By April 29, 2024, Plaintiff shall file its reply, if any.

      SO ORDERED.

Dated: November 13, 2023
       New York, New York
